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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                         WAYCROSS DIVISION

UNITED STATES OF AMERICA                   )
                                           )
             v.                            )    5:23-CR-007
                                           )
JC LONGORIA CASTRO                         )
                                           )

    MOTION TO APPROVE PRELIMINARY ORDER OF FORFEITURE

      COMES NOW the United States of America, by and through Jill E. Steinberg,

the United States Attorney for the Southern District of Georgia and Assistant

United States Attorney Tania Groover and respectfully requests that this Court

approve the attached Preliminary Order of Forfeiture.

      This 22nd day of August 2023.

                                          Respectfully Submitted,

                                          JILL E. STEINBERG
                                          UNITED STATES ATTORNEY

                                          /s/ Tania Groover
                                          Tania Groover
                                          Assistant United States Attorney
                                          Georgia Bar No. 127947

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